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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 ACCIDENT INSURANCE COMPANY,                   CIVIL ACTION NO. 6:13-cv-00387
 INC.

 VERSUS                                        JUDGE DOHERTY

 BENJAMIN B. BLANCHET,                         MAGISTRATE JUDGE HANNA
 ANNE B. BLANCHET, HENRY
 ALBERT BOUDREAUX, JR. AND
 HSB DESIGN & CONTRACTORS, LLC


                     REPORT AND RECOMMENDATION


       Currently pending before the court is the motion to dismiss for failure to state

 a claim on which relief can be granted or, alternatively, to stay the action (Rec. Doc.

 14), which was filed by defendants Henry A. Boudreaux, Jr. and HSB Design and

 Contractors, LLC. The motion was referred to the undersigned for review, report, and

 recommendation in accordance with the provisions of 28 U.S.C. § 636 and the

 standing orders of the court. (Rec. Doc. 16). The motion is opposed. (Rec. Doc. 23).

 For the reasons set forth below, the undersigned recommends that the motion be

 granted and this lawsuit be dismissed without prejudice.
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                              FACTUAL BACKGROUND

       Accident Insurance Company (“AIC”) issued a commercial general liability

 insurance policy, Policy No. AGL9005020, to defendant Henry Albert Boudreaux,

 Jr., covering the time period from March 28, 2011 to March 28, 2012. AIC also

 issued a commercial general liability insurance policy, Policy No. CPP000190800,

 to defendant Boudreaux, covering the time period from March 28, 2012 to March 28,

 2013. In this lawsuit, AIC seeks a declaration that it owes neither defense nor

 indemnity to its insureds with regard to the claims asserted against them in an

 underlying state-court lawsuit. The underlying suit is styled Blanchet v. Boudreaux,

 et al., bears Docket No. 06178-L, and is pending in the 15th Judicial District Court,

 Vermilion Parish, Louisiana. (Rec. Doc. 1-2). The state-court action involves a

 dispute that grew out of Boudreaux’s allegedly negligent and defective design and

 HSB’s allegedly negligent and defective construction of renovations to a historic

 home owned by defendants Benjamin B. Blanchet and Anne B. Blanchet.

       In their original state-court petition (Rec. Doc. 1-2), the Blanchets seek to

 recover damages allegedly caused by Boudreaux and his company, HSB Design &

 Contractors, LLC, due to allegedly defectively designed renovations, cost overruns,

 reordering and installation of materials and supplies, unnecessary and duplicated

 labor, and a product unlike what the Blanchets requested and Boudreaux agreed to

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 provide. The Blanchets’ petition asserts claims for defective design, negligent and

 defective construction, negligent supervision, breach of contract, and unjust

 enrichment. That lawsuit currently remains pending.

       The Blanchets originally sued Boudreaux’s and HSB’s insurers in the

 underlying lawsuit without specifically identifying them.1 Boudreaux and HSB

 contend that they tendered the claims asserted in the state-court action to AIC, and

 AIC agreed to defend Boudreaux and HSB in that action subject to a reservation of

 rights.2 AIC then filed this separate lawsuit. Recently, the Blanchets filed an

 amended and restated petition for damages and declaratory relief in the state-court

 action, in which they name AIC as a defendant in its capacity as Boudreaux’s

 insurer.3 Defendants Boudreaux and HSB have moved to dismiss AIC’s lawsuit for

 failure to state a claim on which relief may be granted. Alternatively, Boudreaux and

 HSB seek to have AIC’s lawsuit stayed pending the resolution of the Blanchets’ state-

 court lawsuit.




       1
              Rec. Doc. 1-2.
       2
              Rec. Doc. 14-1 at 3.
       3
              Rec. Doc. 24-5 at 1.

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                                        DISCUSSION

        This Court must decide whether the plaintiffs’ complaint must be dismissed for

 failure to state a claim on which relief may be granted and whether this action should

 be stayed.



 I.     DOES THE COMPLAINT STATE A CLAIM?

        Boudreaux and HSB argue that AIC cannot meet the essential elements for

 declaratory relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, and

 therefore fails to state a claim on which relief may be granted.

        The Declaratory Judgment Act reads as follows, in pertinent part: “In a case

 of actual controversy within its jurisdiction, . . . any court of the United States. . . may

 declare the rights and other legal relations of any interested party seeking such

 declaration, whether or not further relief is or could be sought.”4 A three-part inquiry

 is used when considering a declaratory judgment action. “First, the court must

 determine whether the declaratory action is justiciable. Typically, this becomes a

 question of whether an ‘actual controversy’ exists between the parties to the action.

 . . . Second, if it has jurisdiction, then the district court must resolve whether it has

 the ‘authority’ to grant declaratory relief in the case presented. . . . Third, the court

        4
               28 U.S.C.A. § 2201(a).

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 has to determine how to exercise its broad discretion to decide or dismiss a

 declaratory judgment action.”5

        In this case, there clearly is an actual controversy between the parties to the

 action. Not one but two lawsuits have been filed, in which it must be decided

 whether AIC’s insurance policies afford defense and indemnity to Boudreaux and

 HSB. “An actual controversy may exist when an insurance carrier seeks a declaratory

 judgment that it has a duty neither to defend nor indemnify its insured in a state court

 action that has not yet proceeded to judgment. The district court thus had jurisdiction

 to rule on the duty to indemnify despite the fact that the underlying state court suit

 had not yet reached final judgment.”6                AIC’s complaint presents an actual

 controversy concerning the coverage afforded by its insurance policies, and sufficient

 facts are set forth in AIC’s complaint and in the state-court petition that was attached

 to AIC’s complaint to permit an understanding of the issues that will ultimately have

 to be decided.

        Second, there is no question that the court has the authority to grant the

 declaratory relief sought by AIC. This court has both subject-matter jurisdiction over

 this action, under 28 U.S.C. § 1332, since AIC’s complaint sets forth factual

        5
               Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (5th Cir. 2000).
        6
                 American States Ins. Co. v. Bailey, 133 F.3d 363, 368 (5th Cir. 1998) (internal
 citations omitted).

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 allegations sufficient to show that the parties are diverse in citizenship and since the

 face of the complaint reveals that the amount in controversy exceeds $75,000. No

 issue has been raised concerning personal jurisdiction over the parties to this action.

 The suit was filed in a court of proper venue. Succinctly, no jurisdictional or

 procedural obstacles have been identified as interfering with this Court’s authority

 to decide the dispute that has been presented here.

        Third, “[i]t is now well-settled in the Fifth Circuit that a district court has

 discretion over whether to decide or dismiss a declaratory judgment action.”7 But a

 district court may not dismiss a request for declaratory relief on the basis of whim or

 personal disinclination; instead, the court must address and balance the purposes of

 the Declaratory Judgment Act and the factors relevant to the applicable abstention

 doctrine.8

        The undersigned finds that AIC’s complaint alleged sufficient facts to establish

 that an actual controversy is currently before the court and the court has authority to

 decide that controversy. Nevertheless, the court must decide whether the parties’

 dispute should be decided, stayed, or dismissed.



        7
               Travelers Ins. Co. v. Louisiana Farm Bureau Federation, Inc., 996 F.2d 774, 778 (5th
 Cir. 1993).
        8
               Travelers v. Louisiana Farm Bureau, 996 F.2d at 778.

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 II.    SHOULD THE PARTIES’ DISPUTE BE DECIDED, STAYED, OR DISMISSED?

        The plaintiff seeks a determination that it does not owe Boudreaux or HSB

 defense or indemnity with regard to the allegations asserted by the Blanchets in the

 underlying state-court lawsuit. Boudreaux and HSB contend that, should the court

 decide not to dismiss the suit for failure to state a claim, this action should be stayed

 pending the final judgment in the underlying lawsuit, arguing that the court has

 discretion to abstain pursuant to Brillhart v. Excess Ins. Co. of America, 316 U.S. 491

 (1942). AIC responds, first, that this is not solely an action seeking declaratory relief

 since AIC also seeks coercive relief in the form of an injunction and, second, that its

 claim for coercive relief requires analysis of the defendants’ motion for abstention

 under Colorado River Water Conservation District v. United States, 424 U.S. 800

 (1976).

        Federal courts have a “virtually unflagging” obligation to exercise the

 jurisdiction granted to them.9 Accordingly, the mere “pendency of an action in the

 state court is no bar to proceedings concerning the same matter in the federal court




        9
                Transocean Offshore USA, Inc. v. Catrette, 239 Fed. App’x. 9, 11 (5th Cir. 2007),
 Black Sea Investment, Ltd. v. United Heritage Corp., 204 F.3d 647, 650 (5th Cir. 2000); Colorado
 River v. United States, 424 U.S. at 817.

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 having jurisdiction.”10 In “extraordinary and narrow” circumstances,11 however, a

 district court may abstain from exercising its jurisdiction but “[a]bstention from the

 exercise of federal jurisdiction is the exception, not the rule.”12

        As explained by the Fifth Circuit, “[o]ne of two standards governs the propriety

 of a decision to stay based on considerations of wise judicial administration,

 depending on whether the federal suit is purely declaratory or seeks other relief.”13

 If the suit seeks only a declaration of rights, the district court's discretion to stay or

 dismiss the suit is governed by the standard articulated in Wilton v. Seven Falls

 Company, 515 U.S. 277, 288 (1995), and Brillhart v. Excess Ins. Co. of America, but

 if the suit involves a request for monetary or other coercive relief, even if declaratory

 relief is also sought, the standard articulated in Colorado River Water Conservation

 District v. United States is applied.14




        10
                Colorado River v. United States, 424 U.S. at 817, quoting McClellan v. Carland, 217
 U.S. 268, 282 (1910). See, also, Transocean Offshore v. Catrette, 239 Fed. App’x. at 11.
        11
                Superior Diving Co. Inc. v. Cortigene, 372 Fed. App’x 496, 498 (5th Cir. 2010); Black
 Sea v. United Heritage, 204 F.3d at 650; Colorado River v. United States, 424 U.S. at 813.
        12
                  Colorado River v. United States, 424 U.S. at 813.
        13
              American Guarantee & Liability Ins. Co. v. Anco Insulations, Inc., 408 F.3d 248,
             th
 250-51 (5 Cir. 2005).
        14
                  American Guarantee v. Anco, 408 F.3d at 250-51.

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        Boudreaux and HSB argue that this suit should be stayed in deference to the

 Vermilion Parish lawsuit under the Wilton/Brillhart standard. AIC argues that,

 because it seeks injunctive relief as well as a judgment declaring that the relevant

 insurance policy affords coverage, only the Colorado River standard applies.



 A.     WHICH STANDARD APPLIES?

        In the Fifth Circuit, the Colorado River standard applies when an action

 includes both declaratory and non-frivolous coercive claims for relief.15 More

 particularly, when a party seeks both injunctive and declaratory relief, the

 appropriateness of abstention must be analyzed under Colorado River.16 The Fifth

 Circuit recognizes two exceptions to applicability of the Colorado River standard.

 The Colorado River standard is not applied if the claims for coercive relief are

 frivolous or if the claims for coercive relief were added as a means of defeating

 Brillhart.17

        Here, there is no indication that AIC’s request for coercive relief was added to

 its complaint as a means of defeating Brillhart but it must be decided whether AIC’s

        15
                New England Ins. Co. v. Barnett, 561 F.3d 392, 395 (5th Cir. 2009).
        16
                 Black Sea v. United Heritage, 204 F.3d at 649; Southwind Aviation, Inc. v. Bergen
 Aviation, Inc., 23 F.3d 948, 951 (5th Cir. 1994).
        17
                New England v. Barnett, 561 F.3d at 395-96.

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  claim for injunctive relief is frivolous. AIC’s complaint is styled “Complaint for

  Declaratory Judgment.”18            Internally, the complaint is referred to as seeking

  declaratory relief at least eight times.19 Neither the word “injunction” nor the word

  “injunctive” is found in the complaint. The sole reference to injunctive relief is set

  forth in the penultimate paragraph of the complaint, which reads as follows in its

  entirety:

                  Further, AIC is entitled to a judgment declaring that it is
                  not otherwise obligated, in any manner whatsoever, to the
                  Blanchets for the circumstances described herein and
                  enjoining all party Defendants from making any claim
                  against the subject AIC Policies for payment under any
                  provisions, regardless of whether such claim is brought
                  through theory of contract, contribution, assignment[,] or
                  any other legal theory.20

  The undersigned finds that AIC’s request for injunctive relief is frivolous for two

  reasons.

          First, it is clear that the injunctive relief sought is solely and completely

  dependent upon the declaratory relief sought. AIC seeks “a judgment declaring that

  it is not . . . obligated . . . to the Blanchets . . . and enjoining all party


          18
                  Rec. Doc. 1 at 1.
          19
                  Rec. Doc. 1 at 1, introductory paragraph; Rec. Doc. 1 at 5, ¶ 20; Rec. Doc. 1 at 6, title;
  Rec. Doc. 1 at 14, title; Rec. Doc. 1 at 17, title; Rec. Doc. 1 at 18, ¶ 36; Rec. Doc. 1 at 18, ¶ 37; Rec.
  Doc. 1 at 18, prayer.
          20
                  Rec. Doc. 1 at 18, ¶ 37 (emphasis added).

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  Defendants. . . .” AIC did not bring a claim for injunctive relief that is separate and

  independent from the claim for declaratory relief. Instead, the claim for injunctive

  relief is conditioned upon a ruling by the court that AIC is entitled to the declaratory

  relief it seeks. AIC asks the court to grant a declaratory judgment in AIC’s favor and

  to include in the judgment an injunction against all of the defendants in this lawsuit.

  Should the Court find that AIC is not entitled to the declaratory relief sought, the

  claim for injunctive relief evaporates. The Fifth Circuit has “rejected the argument

  that coercive claims that are merely ‘ancillary’ to the declaratory action are not

  sufficient to warrant application of Colorado River.”21 But AIC’s claim for

  injunctive relief cannot properly be classified as ancillary to its claim for declaratory

  relief because the coercive claim it is not merely appurtenant to the other claim but

  is wholly subsumed within it. Accordingly, this lawsuit really presents only a viable

  claim for declaratory relief, and the claim for injunctive relief is frivolous.

        Second, the injunctive relief allegedly sought by AIC is not something that the

  court has the ability to grant. Based on its argument, AIC seeks an injunction

  precluding any defendant in this lawsuit from seeking coverage or payment under

  AIC’s policies. But among the defendants in this lawsuit are persons who have

  already asserted claims against AIC in the state-court litigation that are grounded


        21
               New England v. Barnett, 561 F.3d at 397.

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  upon the availability of coverage under the two policies that AIC cited in this lawsuit.

  The court has no authority to enjoin that lawsuit. Since the court has no authority to

  grant the coercive relief requested, the claim for coercive relief is frivolous.22

         Accordingly, the undersigned finds that the Wilton/Brillhart standard provides

  the proper framework for analyzing whether the court should abstain from resolving

  the dispute presented in this lawsuit.



  B.     THE WILTON/BRILLHART STANDARD

         In Wilton v. Seven Falls Company, the United States Supreme Court confirmed

  its prior decision in Brillhart v. Excess Ins. Co. of America, by stating that

                 [i]f a district court, in the sound exercise of its judgment,
                 determines after a complaint is filed that a declaratory
                 judgment will serve no useful purpose, it cannot be
                 incumbent upon that court to proceed to the merits before
                 staying or dismissing the action.23




         22
                  See Trent v. National City Bank of Indiana, 145 Fed. App’x 896, 898, 2005 WL
  1990208, at *2 (5th Cir. 2005) (finding the coercive relief requested, namely the return of funds to
  the heirs or Succession of Marie Dorothy Koffenberger is frivolous because the federal court has no
  jurisdiction to probate a will or administer an estate.)
         23
                 Wilton v. Seven Falls Company, 515 U.S. at 288.

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  The Court concluded that it is within a district court’s discretion to stay an “action for

  declaratory relief where parallel proceedings, presenting opportunity for ventilation

  of the same state law issues, were underway in state court.”24

         To assist in defining the parameters of a district court’s discretion, the Fifth

  Circuit developed a seven-factor test for deciding whether to retain jurisdiction over

  declaratory judgment actions.25 The factors are not exhaustive, mandatory, or

  exclusive26 and address three broad considerations – federalism, fairness/improper

  forum shopping, and efficiency.27 They are: (1) whether there is a pending state

  action in which all of the matters in controversy may be fully litigated; (2) whether

  the plaintiff filed suit in anticipation of a lawsuit filed by the defendant; (3) whether

  the plaintiff engaged in forum shopping in bringing the suit; (4) whether possible

  inequities exist by allowing the declaratory plaintiff to gain precedence in time or to

  change forums; (5) whether the federal court is a convenient forum for the parties and

  witnesses; (6) whether retaining the lawsuit in federal court would serve the purposes

  of judicial economy; and (7) whether the federal court is being called upon to

         24
                Wilton v. Seven Falls Company, 515 U.S. at 290.
         25
                 St. Paul Insurance Co. v. Trejo, 39 F.3d 585, 590-91 (5th Cir. 1994). See, also,
  Travelers v. Louisiana Farm Bureau, 996 F.2d at 778 (citing the first six factors).
         26
                Granite State Insurance Co. v. Tandy Corp., 986 F.2d 94, 96 (5th Cir. 1992), cert.
  denied, 506 U.S. 813 (1993).
         27
                Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 390-391 (5th Cir. 2003).

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  construe a state judicial decree involving the same parties and entered by the court

  before whom the parallel state suit between the same parties is pending.28 This Court

  finds that the seven factors militate in favor of declining jurisdiction over this case.

        The first factor, whether there is a pending state action in which all of the

  matters in controversy may be fully litigated, weighs heavily in favor of abstention.

  “[A]bstention from a declaratory judgment action is ordinarily appropriate when the

  state offers an adequate alternative forum in which to resolve the particular dispute.”29

  As between AIC, Boudreaux, and HSB, the matter to be resolved is the interpretation

  of an insurance policy. That issue has also been placed before the Vermilion Parish

  court, and it is a matter that can be competently resolved in that forum. No question

  of federal law has been presented. “[I]f the federal declaratory judgment action raises

  only issues of state law and a state case involving the same state law issues is

  pending, generally the state court should decide the case and the federal court should

  exercise its discretion to dismiss the federal suit.”30 This factor has been considered




        28
               St. Paul v. Trejo, 39 F.3d at 590-91.
        29
               Southwind Aviation v. Bergen Aviation, 23 F.3d at 950.
        30
               Sherwin-Williams v. Holmes County, 343 F.3d at 390-391.

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  “of paramount concern.”31 Consequently, this is precisely the type of case in which

  the federal court should defer to a related state action.

           The second factor to be considered is whether the plaintiff filed suit in

  anticipation of a lawsuit filed by the defendant. In this case, the Vermilion Parish

  lawsuit was already ongoing when AIC filed this lawsuit. This factor is neutral.

           The third factor is whether the plaintiff engaged in forum shopping in bringing

  the suit. AIC selected this forum, knowing that a related suit was already pending in

  Vermilion Parish. This suggests forum shopping, but this also is an appropriate court,

  and there is no evidence that AIC selected the forum to gain some sort of advantage.

  Important to this inquiry is “whether there was a legitimate reason to be in federal

  court.”32 A desire to avoid a plaintiff-friendly state-court jury is not an illegitimate

  reason.33 Similarly, a party seeking to avail itself of the traditional justification for

  diversity jurisdiction, ensuring fairness for out-of-state litigants, is not an illegitimate

  reason for filing suit in federal court.34 AIC is an out-of-state company, and there is



           31
              American Fidelity Ins. Co. v. Acadian Geophysical Serv., Inc., No. Civ. A 97-1915,
  1997 WL 786233, at *2 (E.D. La. Dec. 18, 1997).
           32
                 American Employers' Insurance Co. v. Eagle, Inc., 122 Fed. App’x 700, 703 (5th Cir.
  2003).
           33
                 American Employers' v. Eagle, 122 Fed. App’x at 703.
           34
                 American Employers' v. Eagle, 122 Fed. App’x at 703.

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  no evidence that it brought this suit in federal court for any illegitimate reason. This

  factor does not favor abstention.

        The fourth factor to be considered is whether there are possible inequities in

  allowing the plaintiff to gain precedence in time or to change forums. This suit was

  filed less than three months ago, and a trial date has not yet been set. The state-court

  action was filed in September 2012,35 but according to AIC “no substantial progress

  has been made in the underlying action.”36 Permitting this case to move forward

  might, therefore, result in a judgment being rendered in this forum sooner than in the

  state-court proceeding. Permitting the federal suit to move forward would, therefore,

  create the very real possibility of inconsistent and/or incomplete rulings. The Court

  finds that this weighs heavily in favor of deferring to the state proceeding.

        The fifth factor is whether the federal court is a convenient forum for the

  parties and witnesses. The state-court proceeding is pending in Abbeville, Louisiana,

  while the federal-court lawsuit is pending in Lafayette, Louisiana. Boudreaux and

  HSB note that the Vermilion Parish courthouse where the state-court action will be

  tried is located “mere miles”37 from the federal courthouse where this action is


        35
               Rec. Doc. 1-2 at 8.
        36
               Rec. Doc. 23-1 at 10.
        37
               Rec. Doc. 14-1 at 9.

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  pending. The Vermilion Parish courthouse is approximately 20 to 25 miles from the

  federal courthouse in Lafayette, and the Court is not persuaded that one forum is more

  convenient than the other. This factor is neutral.

        The sixth factor is whether retaining the lawsuit in federal court would serve

  the purposes of judicial economy. The undersigned finds this to be a critical issue.

  The state suit involves the same parties involved in this lawsuit. Critical issues as

  between the Blanchets and Boudreaux and HSB must be determined before the issue

  of insurance coverage can be decided. Although whether an insurance policy affords

  coverage is a legal issue, there are factual determinations that must be made before

  that legal issue can be resolved. In this case, the policy provisions cited by AIC in

  its complaint require determinations about the nature of the damages sustained by the

  Blanchets, if any, the nature of the services provided by Boudreaux and HSB to the

  Blanchets, and the nature of the contractual agreements between the Blanchets and

  Boudreaux and HSB. Therefore, retaining the lawsuit in federal court would not

  serve the goal of judicial economy. To the contrary, it would increase the potential

  that the goal of judicial economy would be thwarted if the two courts reach

  inconsistent factual conclusions or interpret the insurance policies in different ways.

  The goal of judicial economy would be better served if the insurance coverage issue

  were litigated in the state-court proceeding. This factor weighs in favor of abstention.

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         The final factor, whether the federal court is being called on to construe a state

  judicial decree involving the same parties and entered by the court before whom the

  state-court suit between the same parties is pending, is not an issue in this lawsuit.

         In summary, the undersigned finds that three of the seven factors weigh heavily

  in favor of the court abstaining, while three of the other factors are neutral and only

  one weighs against abstention. The ultimate purpose for evaluating these factors is

  to decide “whether the questions in controversy between the parties to the federal suit

  . . . can better be settled in the proceeding pending in state court.”38 “Fundamentally,

  the district court should determine whether the state action provides an adequate

  vehicle for adjudicating the claims of the parties and whether the federal action serves

  some purpose beyond mere duplication of effort.”39 The undersigned finds that the

  dispute presented in this lawsuit can better be settled in the related proceeding that

  is pending in Louisiana state court.



  C.     SHOULD THE ACTION BE STAYED OR DISMISSED?




         38
                 American Employers' v. Eagle, 122 Fed. App’x at 702, quoting Brillhart v. Excess,
  316 U.S. at 495.
         39
                 Magnolia Marine Transport Co., Inc. v. Laplace Towing Corp., 964 F.2d 1571, 1581
  (5 Cir. 1992), quoting PPG Indus., Inc. v. Continental Oil Co., 478 F.2d 674, 682 (5th Cir. 1973).
    th



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         The discretion afforded to a district court permits either staying or dismissing

  a suit when abstention is appropriate. Rather than merely finding that this action

  should be stayed, however, the undersigned finds that this lawsuit should be

  dismissed. The court has discretion to dismiss this matter sua sponte.40 There is a

  pending state court action in which all of the matters presented in this lawsuit may be

  fully litigated. In this case, a determination will be made in the Vermilion Parish

  lawsuit concerning whether the Blanchets were damaged as a result of Boudreaux’s

  or HSB’s actions or omissions and, if so, the nature of the damages so sustained. It

  would serve no useful purpose for the court to conduct further proceedings until those

  issues are resolved. As the Vermilion Parish lawsuit is now postured, with the

  Blanchets having asserted a claim against AIC, the state court will also be called upon

  to determine if the Blanchets’ claims are covered under AIC’s policy. Proceeding to

  trial in this forum might lead to a ruling that ultimately turns out to be inconsistent

  with the state court’s ruling, creating unnecessary issues and unnecessarily

  complicating the procedural posture of both lawsuits. After careful consideration,


         40
                  See, e.g., Clarendon America Ins. Co. v. Faulk & Foster Real Estate Services, No.
  08-4286, 2009 WL 511308, at *3 (E.D. La. Feb. 27, 2009) (“the Court’s broad discretion allows it
  to sua sponte dismiss this action in lieu of staying it.”) See, also, Agora Syndicate, Inc. v. Robinson
  Janitorial Specialists, Inc., 149 F.3d 371, 373 (5th Cir. 1998) (acknowledging without disapproval
  that district court dismissed declaratory judgment action sua sponte); Houston Gen. Ins. Co. v.
  Taylor Lumber & Treating, Inc., No. CIV. A. 96-1523, 1997 WL 40633, at *3 (E.D. La. Jan. 30,
  1997) (dismissing suit sua sponte).

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  this Court finds that permitting the underlying litigation to proceed unimpeded would

  be the better course of action. Therefore, to the extent that this action is one that

  should be analyzed under the Wilton/Brillhart standard, the undersigned recommends

  that the court exercise its discretion and decline to proceed further, dismissing this

  action without prejudice.



  E.     THIS COURT’S INHERENT POWER TO ABSTAIN

         Even when neither the Wilton/Brillhart standard nor the Colorado River

  standard is applicable, “district courts have inherent power to stay a federal lawsuit

  in favor of a concurrent state court proceeding.”41 “Such a stay should not be granted

  unless the other tribunal has the power to render an effective judgment on issues that

  are necessary to the disposition of the stayed litigation The court also should

  consider whether the federal action serves some purpose beyond mere duplication of

  effort.”42

         In this case, the Vermilion Parish court has the authority to decide issues that

  are necessary to the disposition of the insurance coverage issue that is currently

         41
                 Primerica Life Insurance Co. v. Twyman, No. 3-01-CV-1659-BD, 2002 WL 83750,
  *3 (N.D. Tex. Jan. 14, 2002). See, also, Itel Corp. v. M/S Victoria U. (Ex Pishtaz Iran), 710 F.2d
  199, 202-03 (5th Cir. 1983).
         42
                Primerica v. Twyman, 2002 WL 83750, *3 (internal citations omitted), citing Itel
  Corp. v. M/S Victoria, 710 F.2d at 203.

                                                -20-
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  before this court, and it is competent to do so. Permitting this action to move forward

  would do little more than duplicate the efforts being undertaken in Vermilion Parish

  and potentially create a procedural tangle from which the litigants will likely have a

  difficult time extracting themselves.

         Accordingly, in order “to control the disposition of the causes on its docket

  with economy of time and effort for itself, for counsel, and for litigants,”43 the

  undersigned recommends that the court decline further jurisdiction over this action

  and dismiss this lawsuit without prejudice.



                                         CONCLUSION

         The undersigned finds that AIC has stated a valid claim for declaratory relief

  and a frivolous claim for injunctive relief in its complaint. Accordingly, the

  undersigned finds that the appropriate standard to apply is that articulated in the

  Wilton/Brillhart abstention doctrine, with a nod to the court’s inherent power to stay

  this matter. When that standard is applied, the undersigned concludes that the better

  course of action is for this court to step aside and permit the state court to hear the

  claims asserted by AIC in this lawsuit. Accordingly, the undersigned recommends



         43
                 Primerica v. Twyman, 2002 WL 83750, *3, quoting Itel Corp. v. M/S Victoria, 710
  F.2d at 203.

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  that the motion to dismiss for failure to state a claim on which relief can be granted

  or, alternatively, to stay the action (Rec. Doc. 14) be granted, and further recommends

  that this action be dismissed without prejudice.

         Under the provisions of 28 U.S.C. §636(b)(1)(c) and Fed. R. Civ. P. 72(b), parties

  aggrieved by this recommendation have fourteen days from service of this report and

  recommendation to file specific, written objections with the Clerk of court. A party may

  respond to another party’s objections within fourteen days after being served with a copy of

  any objections or responses to the district judge at the time of filing.

         Failure to file written objections to the proposed factual findings and/or the proposed

  legal conclusions reflected in the report and recommendation within fourteen days following

  the date of its service, or within the time frame authorized by Fed. R. Civ. P. 6(b), shall bar

  an aggrieved party from attacking either the factual findings or the legal conclusions accepted

  by the district court, except upon grounds of plain error. See Douglas v. United Services

  Automobile Association, 79 F.3d 1415(5th Cir. 1996).

         Signed at Lafayette, Louisiana, this 30th day of May 2013.



                                              ____________________________________
                                              PATRICK J. HANNA
                                              UNITED STATES MAGISTRATE JUDGE




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